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6                          UNITED STATES DISTRICT COURT
7                        CENTRAL DISTRICT OF CALIFORNIA
8      HOME DEPOT, U.S.A., INC.                    Case No.: 2:18-cv-03051-DDP-JC
9
                  Plaintiff,                       JUDGMENT
10

11     v.

12     TWIN CITY FIRE INSURANCE
13     COMPANY, NATIONAL UNION
       FIRE INSURANCE COMPANY OF
14     PITTSBURGH, PA, and DOES 1-20,
15     inclusive,
16                 Defendants.
17

18     NATIONAL UNION FIRE
       INSURANCE COMPANY OF
19     PITTSBURGH, PA,
20
                    Third-Party Plaintiff,
21

22     v.

23     STEADFAST INSURANCE
24     COMPANY,
25                  Third-Party Defendant.
26

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                                             JUDGMENT
     Case 2:18-cv-03051-DDP-JC Document 119 Filed 02/04/22 Page 2 of 2 Page ID #:2937




1             In accordance with the Court’s January 31, 2022 Order Granting Defendant
2      National Union Fire Insurance Company of Pittsburg, Pa.’s (“National Union”)
3      Motion for Summary Judgment (ECF No. 118), final judgment is hereby entered
4      in favor of defendant National Union and against plaintiff Home Depot, U.S.A.,
5      Inc. and this action shall be dismissed on its merits. National Union shall recover
6      its costs.
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8      Dated: February 3, 2022
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                                                 Hon. Dean D. Pregerson
                                                 United States District Judge
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                                          JUDGMENT
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